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VII.

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In EDUE, E:oun L Eheehan, LLP formed an "eLLLANEE" with
Uanahie, LLF and according to the attached literature from
their web eite, continue that reiatiohship today.
Defendant Crosson just became aware cf this information
upon seeing the Erewn e Eheehsn logo on the enyeiope
containing PLHIHTIFFE' HETIBH TU ETHIHI RHEWEH DF
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Upon seeing the name Eheehas, hereneant, Croason looked up
the web site for Eroun E Eheehan* LLP and IECDquEEd DEVld
H. Eheehan from his oicture.

Davio H. sheehan, an acting and founding partner et
Flaintiffs* counsel, represented Dsfeneanr, Ereeaon in the
er quarter of JDED.

Durioq the 3rd quarter of EEUG, Defendant Ctosaon
contacted Iavid H. Eheehan to represent Defendant Croason
and his husineases, which had a dispute with The Etate of
Haryland, EeFartment of Heaith and Hentai H§giene, Hentai
quiene ndministration and H¢rylano Health Fartnere.

In the Ird quarter sf EUDH* while working at Venable, LLP,
David H. Eheehan, agreed te represent Defenoent, Cresson
and Ueiendanre Cempany, The Eorner Clinic, locorporeted in
writing and accepted a retainer from DEfEndnnt EIDEEDH.
Eefendant Erosson, end £n-house counsel for DeEendante*
cusinaeaes, Eric M. Hewman, Esq., met with David H.
Eheehan, Counsel for Plaintiff Leona Tictors rEmenyensi,
in his attica on more than one HECBELHH* and EDIIEEPDndEd
via telephone, mail end emali during the Erd quarter of

EUDU.

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HI. Ee£endant Crossan shared privileged and confidential
information and documents which were of a personeil
healnesa, and financial nature,`with Uevid H. Sheehen.
oeiendant Croeson provided information about businesses he
owned at the time in order to derelop strategies to
resolve the dispote.

HII. During the time that Elaintiffs coonsel.l David Hl Eheehahf
represented Defendant Eroason, in the itd quarter of EUEU¢
Home nare, Inc., a etaiotiff in this case, end 25543 Hiil
Hoao, LLE wes owned by Deieodaht Croeson.

HILI. The Flaintiffef claims in this case against Eeiendaht
Crossoo. Coont Five, Ereach of Eontratt, Coont Sir, Ereach
of implied Eovenant of Eood Faith and Fair Dealioqs, and
Eoont Eet+enf Tortioos intentional Interference with
Perepective Rdvantaqe. all stem from Defendant Crsssons‘
gale of stock of Home Care, Inc. and sale of membership in
3554$ Hlil Road, LLC to Piaintlif, which Defendant Eroeaoh
owned in the 3d quarter of 20th when Plaintiffs counselr
baeid H. Eheehen represented hefendant Croaaonl

HIV, In the er quarter of EDUU, during the time that the
Plaietiffs counsel represented Uefeodeht, Crosson, Home
Carel Tnc., a Plalntiif in this caee, during the time that
?laintiffs Counsel, David H. Eheehan represented

Defenoant, James F. Erosson. in the er quarter of EEDD.

Fdr all these reasone, oeiendant, Jamea F. Crosson: h. requests
the Coort dismiss the pleintiff’s eounsel, Erown 5 Eheehan, LLP¢
in thie complaLnt againet him; and E. for such other relief as

re appropriate.

 

 

 

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